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                                   6                               UNITED STATES DISTRICT COURT

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                                                                  NORTHERN DISTRICT OF CALIFORNIA
                                   8

                                   9

                                  10   SONOS, INC.,
                                  11                 Plaintiff,                          No. C 20-06754 WHA
                                                                                         No. C 21-07559 WHA
                                  12          v.
Northern District of California
 United States District Court




                                  13                                                     (Consolidated)
                                       GOOGLE LLC,
                                  14                 Defendant.
                                                                                         REVISED PROPOSED VERDICT
                                  15                                                     FORM AND ORDER RE CHARGING
                                                                                         CONFERENCE
                                  16

                                  17        Appended hereto is a revised proposed special verdict form.

                                  18        The parties shall please review this form and standby for a CHARGING CONFERENCE at
                                  19   12:30 P.M.

                                  20       IT IS SO ORDERED.

                                  21

                                  22   Dated: May 18, 2023.

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                                  25                                                       WILLIAM ALSUP
                                                                                           UNITED STATES DISTRICT JUDGE
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                     REVISED PROPOSED VERDICT FORM
When answering the following questions and filling out this Verdict Form, please follow the
directions provided throughout the form and all of my instructions to you. Your answer to each
question must be unanimous.

We, the jury, unanimously agree to the answers to the following questions and return them under
the instructions of law as our verdict in this case.


                                      THE ’885 PATENT

1. INVALIDITY VS. VALIDITY.

       Has Google proven, by clear and convincing evidence, that claim 1 of the ’885 patent is
       invalid?


       Yes ____       No ____


       If you answered “Yes” to Question 1, the asserted claim of the ’885 patent is invalid, and
       you may skip to Question 3. If you answered “No,” the asserted claim of the ’885 patent
       is valid, and you may proceed to Question 2.


2. INFRINGEMENT VS. NON-INFRINGEMENT (NEW PRODUCTS).

       If the asserted claim of the ’885 patent is valid, has Sonos proven, by a preponderance of
       the evidence, that the new version of the accused products infringe claim 1 of the ’885
       patent?

       Yes ____       No ____

       If you answered “Yes” to Question 2, both the original and new versions of the accused
       products infringe the asserted claim of the ’885 patent. If you answered “No,” only the
       original accused products infringe the asserted claim of the ’885 patent (as the judge has
       already determined). In any case, proceed to Question 3.
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                                    THE ’966 PATENT

3. INVALIDITY VS. VALIDITY.

      Has Google proven, by clear and convincing evidence, that any of the following asserted
      claims of the ’966 patent are invalid?

              (i)     Claim 1              Yes ____       No ____

              (ii)    Claim 2              Yes ____       No ____

              (iii)   Claim 4              Yes ____       No ____

              (iv)    Claim 6              Yes ____       No ____

              (v)     Claim 8              Yes ____       No ____

      If you answered “Yes” to all parts of Question 3 and “Yes” to Question 1, all asserted
      patent claims are invalid and your work is done. Skip to the end of the Verdict Form and
      sign it.

      If you answered “Yes” to all parts of Question 3 and “No” to Question 1, the asserted claim
      of the ’885 patent is valid and the asserted claims of the ’966 patent are invalid. Skip to
      Question 6.

      If you answered “Yes” to at least one part, but not all parts, of Question 3, the
      corresponding asserted claim(s) of the ’966 patent is invalid. Hereafter, you will not need
      to answer questions with respect to infringement of any invalid asserted claims. The
      remaining asserted claims are valid. Proceed to Question 4.

4. INFRINGEMENT VS. NON-INFRINGEMENT (ORIGINAL & NEW PRODUCTS).

   A. As to any valid asserted claims of the ’966 patent, has Sonos proven, by a preponderance
      of the evidence, that the original version of the accused products infringes:

              (i)     Claim 1?             Yes ____       No ____

              (ii)    Claim 2?             Yes ____       No ____

              (iii)   Claim 4?             Yes ____       No ____

              (iv)    Claim 6?             Yes ____       No ____

              (v)     Claim 8?             Yes ____       No ____
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     If you answered “No” to all parts of Question 4A, the original accused products do not
     infringe the asserted claims of the ’966 patent, and you only need to calculate damages
     for the original accused products’ infringement of the asserted claim of the ’885 patent.
     Skip to Question 6.

     If you answered “Yes” to one or more parts, the original accused products infringe the
     corresponding asserted claims of the ’966 patent. Please answer the corresponding one
     or more parts of Question 4B below. For example, if you answered “Yes” to part (i) of
     Question 4A, you should answer part (i) of Question 4B, whereas if you answered “No”
     to part (i) of Question 4A, you should not answer part (i) of Question 4B.

  B. As to any valid asserted claims of the ’966 patent, has Sonos proven, by a preponderance
     of the evidence, that the new version of the accused products infringes:

             (i)     Claim 1?              Yes ____       No ____

             (ii)    Claim 2?              Yes ____       No ____

             (iii)   Claim 4?              Yes ____       No ____

             (iv)    Claim 6?              Yes ____       No ____

             (v)     Claim 8?              Yes ____       No ____

     If you answered “No” to all parts of Question 4B, the new versions of the accused
     products do not infringe the asserted claims of the ’966 patent, and you only need to
     calculate damages for any infringement of asserted claims of the ’885 and ’966 patents by
     the original accused products.

     If you answered “Yes” to one or more parts, both the original and new versions of the
     accused products infringe the corresponding asserted claims of the ’966 patent. In any
     case, proceed to Question 5.

5. WILLFUL INFRINGEMENT.

     If any of the asserted claims of the ’966 patent is valid and infringed, has Sonos proven,
     by a preponderance of the evidence, that Google had knowledge, or was willfully blind to
     the fact, that its actions constituted infringement?

             Yes ____      No ____

     If you answered “Yes” to Question 5, Google committed willful infringement of the ’966
     patent. If you answered “No,” Google did not commit willful infringement of the ’966
     patent. In any case, proceed to Question 6.
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      (Note: The judge has already determined that Google did not commit willful
      infringement of the ’885 patent, recognizing that the ’885 patent issued after this lawsuit
      began.)

                                            DAMAGES

6. DAMAGES AWARD.

      If no claim is valid and infringed, skip this question.

      If any of the asserted claims of the ’885 and ’966 patents is valid and infringed, what
      damages award do you find is adequate to compensate Sonos for Google’s infringement?
      Use one, but only one, of the two methods below, whichever you find most applicable:

               PER UNIT ROYALTY $______ × NUMBER OF UNITS ______ = $______

               LUMP SUM = $______



                                        *       *       *



 You have now reached the end of the Verdict Form and should review it to ensure it accurately
 reflects your unanimous determinations. The foreperson should then sign and date the Verdict
 Form in the spaces below, and notify the Court Security Officer that you have reached a
 verdict.

 The foreperson should retain possession of the Verdict Form and bring it when the jury is
 brought back into the courtroom.



 Dated: __________________, 2023.            By: ______________________________.

                                                    Foreperson.
